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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE
--------------------------------------------------------------- x
                                                                : Chapter 11
In re:                                                          :
                                                                : Case No. 18-12491 (CSS)
PROMISE HEALTHCARE GROUP, LLC, et al.,1 :
                                                                : (Jointly Administered)
                  Debtors.                                      :
                                                                : Related D.I. 15 & 137
--------------------------------------------------------------- x

        DEBTORS’ REPLY TO OBJECTION OF THE UNITED STATES TRUSTEE
            TO THE MOTION OF THE DEBTORS TO FILE UNDER SEAL
              PORTIONS OF ITS CREDITOR MATRIX CONTAINING
               CERTAIN INDIVIDUAL CREDITOR INFORMATION

         Promise Healthcare Group, LLC and its affiliated debtors and debtors-in-possession

(collectively, the “Debtors”), by and through its proposed counsel, hereby files this reply (the

“Reply”) to the United States Trustee’s Objection of the United States Trustee to the Motion of the

Debtors to File Under Seal Portions of its Creditor Matrix Containing Certain Individual Creditor

Information [D.I. 137] (the “Objection”). The Debtors respectfully state the following:



1
  The Debtors in these Chapter 11 Cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: HLP HealthCare, Inc. (8381), PH-ELA, Inc. (9180), Professional Rehabilitation Hospital,
L.L.C. (5340), Promise Healthcare #2, Inc. (1913), Promise Healthcare Group, LLC (1895), Promise Healthcare
Holdings, Inc. (2601), Bossier Land Acquisition Corp. (6644), HLP of Los Angeles, LLC (9102), HLP of Shreveport,
Inc. (1708), HLP Properties at The Villages Holdings, LLC (0006), HLP Properties at the Villages, L.L.C. (1938),
HLP Properties of Vidalia, LLC (4255), HLP Properties, Inc. (0068), Promise Healthcare of California, Inc. (9179),
Promise Healthcare, Inc. (7953), Promise Hospital of Ascension, Inc. (9219), Promise Hospital of Baton Rouge, Inc.
(8831), Promise Hospital of Dade, Inc. (7837), Promise Hospital of Dallas, Inc. (0240), Promise Hospital of East Los
Angeles, L.P. (4671), Promise Hospital of Florida at The Villages, Inc. (2171), Promise Hospital of Louisiana, Inc.
(4886), Promise Hospital of Lee, Inc. (8552), Promise Hospital of Overland Park, Inc. (5562), Promise Hospital of
Phoenix, Inc. (1318), Promise Hospital of Salt Lake, Inc. (0659), Promise Hospital of Vicksburg, Inc. (2834), Promise
Hospital of Wichita Falls, Inc. (4104), Promise Properties of Dade, Inc. (1592), Promise Properties of Lee, Inc. (9065),
Promise Properties of Shreveport, LLC (9057), Promise Skilled Nursing Facility of Overland Park, Inc. (5752),
Promise Skilled Nursing Facility of Wichita Falls, Inc. (1791), Quantum Health, Inc. (4298), Quantum Properties,
L.P. (8203), St. Alexius Hospital Corporation #1 (2766), St. Alexius Properties, LLC (4610), Success Healthcare 1,
LLC (6535), Success Healthcare 2, LLC (8861), Success Healthcare, LLC (1604), Vidalia Real Estate Partners, LLC
(4947), LH Acquisition, LLC (2328), Promise Behavioral Health Hospital of Shreveport, Inc. (1823), Promise
Rejuvenation Centers, Inc. (7301), Promise Rejuvenation Center at the Villages, Inc. (7529), and PHG Technology
Development and Services Company, Inc. (7766). The mailing address for the Debtors, solely for purposes of notices
and communications, is 999 Yamato Road, 3rd FL, Boca Raton, FL 33431.



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           The United States Trustee objects to the Debtors’ Motion to File Under Seal Portions of

its Creditor Matrix Containing Certain Individual Creditor Information [D.I. 15] (the “Motion”),2

which seeks to seal certain of the Debtors’ employees’ home addresses. In its Objection, the United

States Trustee argues that an individual’s home address does not fall within the parameters of

section 107 of the United States Bankruptcy Code (the “Bankruptcy Code”) or rule 9018 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and sealing such information

goes against the right of public access. Therefore, the United States Trustee requests that the Court

deny the Debtors’ Motion and require the Debtors’ to either un-redact or file an unsealed creditor

matrix.

                                       PRELIMINARY STATEMENT

           The Debtors respectfully submit that the Objection should be overruled for three reasons.

First, section 107(c)(1) of the Bankruptcy Code excepts from public disclosure any “means of

identification,” which, as defined by 18 U.S.C. § 1028(d), may include an individual’s personal

home address. Second, this Court specifically authorized the sealing of this exact type of

information in In re Searchmetrics, Inc., Case No. 17-11032 (CSS) (Bankr. D. Del. May 9, 2017)

[D.I. 27]. Third, privacy concerns here outweigh the limited benefit of public access to the

Debtors’ employees personally identifying information.




2
    Capitalized terms not otherwise defined herein are given the meanings ascribed to them in the Motion.
                                                           2

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                                             REPLY

       1.      First, and foremost, the United States Trustee misinterprets section 107(c)(1) of the

Bankruptcy Code and the definition of “means of identification” as set forth in

18 U.S.C. § 1020(d)(7). Under the Bankruptcy Code:

       The bankruptcy court, for cause, may protect an individual, with respect to the
       following types of information to the extent the court finds that disclosure of such
       information would create undue risk of identity theft or other unlawful injury to the
       individual or the individual’s property:
              (A) Any means of identification (as defined in section 1028(d) of title 18)
              contained in a paper, or to be filed, in a case under this title.
              (B) Other information contained in a paper described in subparagraph (A).

11 U.S.C. § 107(c)(1) (emphasis added).

Further, with regard to the definition of “means of identification”:

       The term “means of identification” means any name or number that may be used,
       alone or in conjunction with any other information, to identify a specific individual,
       including any—
              (A) name, social security number, date of birth, official State or government
              issued driver’s license or identification number, alien registration number,
              government passport number, employer or taxpayer identification
              number….

18 U.S.C. § 1028(d)(7) (emphasis added).

       2.      The proper interpretation of these two statutes is two-fold. One, while the United

States Trustee argues that transparency is paramount to all other concerns, through the enactment

of 11 U.S.C. 107(c)(1), Congress provided an exception to transparency and intended to protect

innocent individuals from foreseeable injury. Two, the language of both statutes, given emphasis

above, dictates that Congress intended for each statute to keep open channels for protecting

additional information not enumerated. Specifically, section 107(c)(1)(B) allows for “other

information” apart from “means of identification,” as defined in section 1028(d)(7). Further, under

such definition, Congress specifically included the phrase “including any” to illustrate the non-


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exhaustive nature of the list of items that follows. Accordingly, while an individual employee’s

home address is not explicitly listed in the definition of “means of identification,” it most certainly

is covered by the expansive language of both 11 U.S.C. § 107(c)(1)(B) and 18 U.S.C. § 1028(d)(7).

       3.          In a footnote in its Objection, the United States Trustee fights against this

conclusion by citing to United States v. Hawes, 523 F.3d 245 (3d Cir. 2008) and United States v.

Craig, 343 Fed. Appx. 766 (3d Cir. 2009) (unpublished). While both opinions concern sentencing

enhancement guidelines for individuals convicted of identity theft, and are thus factually

distinguishable from the issue of whether to seal employee addresses in a debtor’s creditor matrix,

the discussion in Hawes actually supports the Debtors’ position.

       4.      A major concept in identity theft is affirmative identity theft or “breeding.”

Breeding refers to the process of using one or more sources of information to create another. As

analyzed in Hawes, Application Note 9(C) to U.S.S.G. § 2B1.1 provides several examples of this

behavior, including, “(II) A defendant obtains an individual’s name and address from a source

(e.g., from a driver’s license in a stolen wallet) and applies for, obtains, and subsequently uses a

credit card in that individual’s name….” Hawes, 523 F.3d at 251, and under the circumstances

here, may combine that information with employment information. If the Court sustains the United

States Trustee’s Objection, without having to steal a wallet, an ill-intended individual will have

public access to the Debtors’ employees’ names, home addresses and employment information,

from a single source, which may serve as a foundation to “breed” further fraudulent means of

identification, resulting in identity theft. Accordingly, and as contemplated by Congress, this Court

should authorize the Debtors to keep its employees’ home addresses under seal.

       5.      Second, this Court specifically authorized the debtor in In re Searchmetrics, Inc.,

Case No. 17-11032 (CSS) (Bankr. D. Del. May 9, 2017) [D.I. 27] to seal the debtor’s employees’


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home addresses under section 107 of the Bankruptcy Code. As was the case in Searchmetrics,

revealing such information “raises privacy concern[s] and it’s unnecessary to be publicly

disclosed.” Transcript of May 11, 2017 Hearing [D.I. 41] at 30:12–14. Similarly, the Debtors here

believe that their employees must now be focusing their efforts toward facilitating a successful

reorganization; no individual employee should be concerned with the risks associated with having

her home address publicly disclosed. See id. at 30:15–19. Further, this Court has granted this type

of relief in numerous other cases over the years. See, e.g., In re Triangle USA Petroleum Corp.,

Case No. 16-11566 (MFW) (Bankr. D. Del. July 5, 2016) [D.I. 65] (ordering that the debtors were

not required to include the home addresses of their employees in the creditor matrix); In re Delivery

Agent, Inc., Case No. 16-12051 (LSS) (Bankr. D. Del. Sept. 16, 2016) [D.I. 51] (authorizing the

redaction of address information of the debtors’ current and former employees); In re Magnum

Hunter Res. Corp., Case No. 15-12533 (KG) (Bankr. D. Del. Dec. 16, 2015) [D.I. 63] (same).

       6.      Third, while there is a “strong presumption in favor of public access to judicial

records and papers…” In re Continental Airlines, 150 B.R. 334 (D. Del. 1993), that presumption

is substantially outweighed by the risk of identity theft or injury to an innocent individual

employee. The benefit of public access to the Debtors’ employees’ home addresses is limited, if

existent at all, in the context of a bankruptcy case, when the Debtors’ addresses are readily

available. Confusingly, the United States Trustee asserts that the “Debtors should not be permitted

to further disadvantage its current and former employees” by sealing their home addresses.

Objection, at 6. However, the logical disadvantage would be to expose these employees to potential

identify theft. To publicly disclose each individual employee’s home address would create an

undue risk of identity theft for those already dealing with working for a company in bankruptcy.




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Accordingly, despite the presumption in favor of public access, the privacy concerns at issue here

tip the scales substantially towards sealing the Debtors’ employees’ home addresses.



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                                           CONCLUSION

       WHEREFORE, the Debtors respectfully request that the Court overrule the Objection,

grant the Motion, and enter the proposed order, substantially in the form attached to the Motion as

Exhibit A, authorizing the Debtors to file under seal portions of its creditor matrix containing

certain individual creditor information.



Dated: November 30, 2018                      Respectfully submitted,
       Wilmington, Delaware
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